IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,
PENNSYLVANIA

Case No. 17 CJ 04886

CHRISTINE BIROS,
Plaintiff,
vs. U LOCK ING.’S NOTICE OF
BANKRUPTCY
U LOCK INC.,
Defendant.
Filed on behalf of:
ULOCKINC., Defendant.
Counsel of record for this party:
us J. Allen Roth, Esq. (PA 30347)
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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY,

 

PENNSYLVANIA
CHRISTINE BIROS, ) Case No. 17 CJ 04886

)
Plaintiff, )
)
Vs. )
)
U LOCK INC., et al, )
)
Defendant. )

DEFENDANT U LOCK INC.'S

NOTICE OF BANKRUPTCY

 

Defendant U Lock Inc., by and through its counsel, J. Allen Roth, files this Notice
of Bankruptcy:

U Lock Inc. received notification from Shanni Snyder and by mail from the United
States Bankruptcy Court that a petition for bankruptcy was filed against it. The

bankruptcy filing appears to create an automatic stay of this case.

 

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF PENNSYLVANIA

Notice of Involuntary Bankruptcy Case Filing

An involuntary bankruptcy case concerning the debtor(s) listed below was
filed under Chapter 7 of the United States Bankruptcy Code, entered on
04/28/2022 at 4:53 PM and filed on 04/27/2022. U LOCK INC 14140 U.S.
Route 30 N. Huntingdon, PA 15642 Tax JD / EIN: XX-XXXXXXX aka U-LOCK
INC. The case was filed by the following petitioning creditor(s): Shanni
Snyder 14390 Route 30 Unit H North Huntingdon, PA 15642 SSN / ITIN:
xxx-xx-6136 The case was assigned case number 22-20823-GLT to Judge
Gregory L. Taddonio. If you would like to view the bankruptcy petition and
other documents filed by the petitioning creditor(s) and the debtor, they are
available at our Internet home page https://ecf.pawb.uscourts.gov or at the
Clerk's Office, U.S. Bankruptcy Court, 5414 U.S. Steel Tower, 600 Grant
Street, Pittsburgh, PA 15219. You may be a creditor of the debtor. If so, you
will receive an additional notice from the court setting forth important
deadlines. Michael R. Rhodes Clerk, U.S. Bankruptcy Court. /s/ Michael R.
Rhodes, Clerk, U.S. Bankruptcy Court.

 

 

 

 

 
WHEREFORE, U Lock Inc. respectfully notifies the Court and the parties that a

bankruptcy exists against the Defendant along with an automatic stay.

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atrobe PA 15650
(724) 537-0939
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ATTORNEY FOR U LOCK INC.
CERTIFICATE OF SERVICE

I certify that I mailed a true copy of the foregoing to the following parties on this
18th day of May, 2022:

William E. Otto, Esq.
PO Box 701
Murrysville, PA 15668

Dennis D. Del Cotto, Esq.
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William F. Ross, Esq.
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Jobn Tumolo, Esq.
Suite 1500, Frick Building
Pittsburgh, PA 15219

Hon. Harry F. Smail

Court of Common Pleas

2 N Main Street, Courtroom 2
Greensburg PA 15601

AG

JAllen Roth, Esq.
